        Case 1:91-cr-00116-LJO Document 217 Filed 02/27/07 Page 1 of 1




 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10                                 ----oo0oo----
     JOHN LEE HODGE,
11                                            NO. CR. 1-91-0116 WBS
                 Petitioner,
12                                                       ORDER
          v.
13
     UNITED STATES OF AMERICA,
14
                 Respondent.
15                                 ----oo0oo----
16               Petitioner, JOHN LEE HODGE, has filed an Application
17   to Revisit Original Sentence Pursuant to Rule 60(b)(6).             The
18   United States Attorney shall file a response to this Application
19   on or before March 26, 2007.      Petitioner shall file his reply,
20   if any, on or before April 10, 2007.        The matter shall then be
21   taken under submission.
22               IT IS SO ORDERED.
23   DATED:    February 26, 2007
24
25
26
27
28
